         Entered on Docket June 27, 2019

                                                             Below is the Order of the Court.


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                                                              Christopher M. Alston
 3                                                            U.S. Bankruptcy Judge
                                                              (Dated as of Entered on Docket date above)

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 6   _______________________________________________________________
     CHRISTOPHER M. ALSTON
 7   United States Bankruptcy Judge
     700 Stewart Street, Room 7206
 8   Seattle, WA 98101
     (206) 370-5330
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13                           UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF WASHINGTON AT SEATTLE
14
       In re:
15                                                                            Bankruptcy 18-12299
       Jason L. Woehler
16
                                        Debtor.
17                                                                             Adversary 18-01169
       Russell Brandt
18
                                        Plaintiff,                    NOTICE OF TRIAL
19              v.                                              AND ORDER SETTING DEADLINES
20     Jason L. Woehler
21                                     Defendant.
22
           1.        Trial Setting. This adversary proceeding is set for a three non-jury trial commencing at
23                   9:30 a.m. on March 10, 11, and 12, 2020 in the United States Bankruptcy Court, 700
                     Stewart Street, Courtroom 7206, Seattle, Washington.
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           2.        Compliance. Failure to comply with the procedures and deadlines set forth in this order
25                   may result in adverse evidentiary rulings and/or dismissal of the action. The trial may be
                     stricken and the adversary proceeding dismissed with prejudice or relief entered without


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               further notice, and/or evidence excluded, for failure to comply with this order.
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          3.   Disclosures. Disclosure material shall not be filed with the Court except as exhibits or as
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               evidence on a motion or at trial.
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               a.       Expert Disclosures. All parties shall make the expert disclosures required by
 4                      Federal Rule of Civil Procedure 26(a)(2) and Federal Rule of Bankruptcy
                        Procedure 7026 by January 10, 2020.
 5
               b.       Non-expert Disclosures. All parties shall make the disclosures required by
 6                      Federal Rule of Civil Procedure 26(a)(3) and Federal Rule of Bankruptcy
                        Procedure 7026 by February 7, 2020.
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        4.     Deadlines. The following deadlines will not be routinely extended absent a showing of
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               diligent prosecution and compliance with this order. All requests for an extension must be
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               made by motion, noticed to all parties, and set for hearing before the applicable deadline.

10              a.      Discovery. All discovery shall be completed by February 7, 2020.

11              b.      Business Records. Any party intending to offer a record into evidence by
                        declaration pursuant to Federal Rules of Evidence 902(11), 902(12), and 803(6)
12                      must provide written notice of that intention to all adverse parties, and must
                        make the record and declaration available for inspection on or before February
13                      7, 2020.
14
                c.      Dispositive Motions. Dispositive motions must be filed and served such that the
                        hearing is held no later than twenty-one (21) days prior to the trial date.
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16              d.      Exhibits. All parties must exchange their proposed exhibits by February 25,
                        2020.
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18              e.      Briefs. Plaintiff’s trial brief shall be served and filed by February 24, 2020 and
                        defendant’s trial brief shall be served and filed by March 2, 2020. At plaintiff’s
19                      option, plaintiff may serve and file a reply brief by March 6, 2020. Trial briefs
                        shall include, as an attachment, proposed findings of fact and conclusions of law.
20                      All must contain the top notation required by Local Bankruptcy Rule 9013-
                        1(d)(1)(B).
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                f.      Pretrial Orders. Counsel shall comply with Local Bankruptcy Rule 7016-1(b) in
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                        the filing of a proposed pretrial order. The pretrial order is due by March 3,
23                      2020. If you fail to timely file the pretrial order, the trial may be stricken.

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                g.     Motions in Limine. Motions in Limine to be heard the day of trial shall be filed
 1                     no later than noon on March 3, 2020 and any response shall be filed by noon on
                       March 6, 2020. This order does not preclude a party from pursuing a motion in
 2
                       limine prior to trial in accordance with the notice and hearing requirements of
 3                     LBR 9013-1 and having the motion heard on the Court’s regular adversary
                       proceeding calendar.
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          5.    Exhibits.
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                a.     Numbering and Format. A number sequence shall be used for all exhibits
 7                     (including experts’ declarations) of all parties, with prefixes indicating the
                       offering party, plaintiff or defendant (i.e., P1, P2, P3, etc; D1, D2, D3, etc.).
 8                     Exhibits shall be pre-marked in accordance with this order. Any documentary
                       exhibits which can reasonably be submitted on 8-1/2 by 11 inch paper shall be,
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                       with text on one side only. All pages within the respective exhibit should be
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                       numbered consecutively. (i.e., 1, 2, 3, etc).

11              b.     Binders. Any party submitting exhibits shall submit the exhibits in 3-ring
                       binders. The binders shall include an index of the exhibits and each exhibit shall
12                     be separated with an index tab marked with the identification as set forth in
                       paragraph 5(a).
13
                c.     Submission of Exhibits to the Court. Parties intending to offer exhibits shall
14                     submit three (3) sets of exhibits in 3-ring binders for use by the Court, the clerk,
                       and witnesses. To facilitate identification of exhibits for trial, parties intending
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                       to offer 10 or more exhibits at trial shall submit them to chambers by March 6,
                       2020 unless other arrangements are made in advance with Morgan Brannon
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                       (206-370-5331), Judge Alston’s Courtroom Deputy.
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          6.    Mediation and Settlement. If not previously filed, the parties shall file the Mediation
18              Certification required by Local Bankruptcy Rule 9040-3. Within five (5) Days of the
                entry of this order the parties shall notify the Court if the matter is settled.
19
          7.    Confirmation. The plaintiff shall confirm that the trial is going forward not later than
20              noon on March 5, 2020 by using the E-Docket Confirmation Process and by notifying
                any party not represented by a lawyer by mail, facsimile or telephone. Failure to comply
21              may result in the trial being stricken and the case dismissed with prejudice. For
                information concerning the E-Docket Confirmation Process, please visit the Court’s
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                website at http://www.wawb.uscourts.gov. Plaintiffs who are not represented by a
23              lawyer may confirm a trial by contacting the Court’s chambers at (206) 370-5330.

24        8.    Continuances. Continuances are not routinely granted by the Court and will not be granted
                without a court order entered at least one week prior to the trial date. An agreed
25              continuance may be requested by a letter addressed to the judge. The letter should include
                a representation that the continuance is agreed and proposed revised deadlines. A


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                contested request for continuance must be made by motion and noted for hearing prior to
 1              the date of the trial. Unless the trial has been continued by order of the Court, the parties
                will be expected to appear for trial as scheduled. The parties must contact Judge Alston’s
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                Courtroom Deputy, Morgan Brannon, at 206-370-5331, for available trial dates.
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                                            /// End of Order ///
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